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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 SANOFI-AVENTIS US, LLC,

               Plaintiff,

        v.
                                                        Civil Action No. 24-3496 (DLF)
 ROBERT F. KENNEDY, JR, Secretary of
 Health and Human Services, et al.,

               Defendants.


        DEFENDANTS’ CROSS MOTION FOR SUMMARY JUDGMENT AND
       OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Pursuant to Rule 56, Defendants the Secretary of Health and Human Services and the

Administrator of the Health Resources and Services Administration respectfully move the Court

for an order granting summary judgment in their favor and denying Plaintiff Sanofi-Aventis US,

LLC motions for summary judgment. In support of this motion, Defendants respectfully refer the

Court to the attached memorandum of points and authorities. A proposed order is attached hereto.

 Dated: March 27, 2025                        Respectfully submitted,
        Washington, DC
                                              EDWARD R. MARTIN, JR., D.C. Bar #481866
                                              United States Attorney


                                              By:           /s/ John J. Bardo
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